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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ09-94-BAT-2
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     GILBERT MOSES, JR.,                               )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offenses charged:

13         Conspiracy to Commit Assault

14         Assault Resulting in Serious Bodily Injury

15    Detention Hearing: March 13, 2009.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18    that no condition or combination of conditions which the defendant can meet will reasonably

19    assure the appearance of the defendant as required and the safety of any other person and the

20    community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22         The government made a proffer regarding the serious and violent nature of the allegations,

23    the defendant’s role, his lengthy criminal history which includes crimes of violence and escape


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 1    and his substance abuse problems. Defendant through counsel did not contest detention in view

 2    of charges filed in Tribal Court ordering defendant’s detention.

 3         It is therefore ORDERED:

 4         (1)     Defendant shall be detained pending trial and committed to the custody of the

 5    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6    from persons awaiting or serving sentences, or being held in custody pending appeal;

 7         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 8    counsel;

 9         (3)     On order of a court of the United States or on request of an attorney for the

10    Government, the person in charge of the correctional facility in which defendant is confined shall

11    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

12    with a court proceeding; and

13         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

14    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

15         DATED this 13th of March, 2009.

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17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

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     DETENTION ORDER -2
